          Case 1:20-cr-00309-AJN Document 33 Filed 10/19/20 Page 1 of 3



                                                                                             10/19/20
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


  United States of America,

                 –v–
                                                                     20-cr-309 (AJN)
  Cortez Fowlkes,
                                                                          ORDER
                         Defendant.



ALISON J. NATHAN, District Judge:

       An status conference in this matter is currently scheduled for October 29, 2020 at 11:00

A.M. Dkt. No. 22. In light of the COVID public health crisis, there are significant safety issues

related to in-court proceedings. If the Defendant is willing to waive his physical presence, this

proceeding will be conducted remotely. To that end, defense counsel should confer with the

Defendant regarding waiving his physical presence and provide the attached waiver form to him.

If Mr. Fowlkes, after reviewing the form and being advised of its contents, wishes to waive his

right to be physically present, he and his counsel should return the signed waiver form no later

than October 26, 2020. If Mr. Fowlkes agrees to proceed remotely, defense counsel shall

indicate to the Court whether videoconference is reasonably available or if Mr. Fowlkes would

prefer to proceed by teleconference.

       SO ORDERED.

 Dated: October 16, 2020
        New York, New York
                                                  ____________________________________
                                                            ALISON J. NATHAN
                                                          United States District Judge
               Case 1:20-cr-00309-AJN Document 33
                                               18 Filed 10/19/20
                                                        07/09/20 Page 2 of 3



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
UNITED STATES OF AMERICA
                                                                                WAIVER OF RIGHT TO BE PRESENT AT
                                  -v-                                           CRIMINAL PROCEEDING

Cortez Fowlkes,                                                                    20-cr-309 (AJN)
                                               Defendant.
-----------------------------------------------------------------X

Check Proceeding that Applies


____       Conference

           I have been charged in an indictment with violations of federal law. I understand that I have a right to be
           present at all conferences concerning this indictment that are held by a judge in the Southern District of
           New York, unless the conference involves only a question of law. I understand that at these conferences
           the judge may, among other things, 1) set a schedule for the case including the date at which the trial will
           be held, and 2) determine whether, under the Speedy Trial Act, certain periods of time should be properly
           excluded in setting the time by which the trial must occur. I have discussed these issues with my attorney
           and wish to give up my right to be present at the conferences. By signing this document, I wish to advise
           the court that I willingly give up my right to be present at the conferences in my case for the period of time
           in which access to the courthouse has been restricted on account of the COVID-19 pandemic. I request that
           my attorney be permitted to represent my interests at the proceedings even though I will not be present.



Date:                  ____________________________
                       Signature of Defendant


                       ____________________________
                       Print Name


I hereby affirm that I am aware of my obligation to discuss with my client the charges contained in the indictment,
my client’s rights to attend and participate in the criminal proceedings encompassed by this waiver, and this waiver
form. I affirm that my client knowingly and voluntarily consents to the proceedings being held in my client’s absence.
I will inform my client of what transpires at the proceedings and provide my client with a copy of the transcript of
the proceedings, if requested.

Date:                  ____________________________
                       Signature of Defense Counsel


                       ____________________________
                       Print Name
            Case 1:20-cr-00309-AJN Document 33
                                            18 Filed 10/19/20
                                                     07/09/20 Page 3 of 3



Addendum for a defendant who requires services of an interpreter:

I used the services of an interpreter to discuss these issues with the defendant. The interpreter also translated this
document, in its entirety, to the defendant before the defendant signed it. The interpreter’s name is:
_______________________.



Date:             _________________________
                  Signature of Defense Counsel




Accepted:         ________________________
                  Signature of Judge
                  Date:




                                                          2
